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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

    GRAHAM T. CHELIUS, M.D., et al.,         CIV. NO. 17-00493 JAO-RT
                       Plaintiffs,
                                             [CIVIL RIGHTS ACTION]
                        vs.
                                           ORDER GRANTING PLAINTIFFS’
                                           UNOPPOSED MOTION TO FILE
    XAVIER BECERRA, J.D., in his
                                           UNREDACTED DECLARATION
    official capacity as SECRETARY,
                                           UNDER SEAL
    U.S. D.H.H.S., et al.,

                       Defendants.
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     ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO FILE
            UNREDACTED DECLARATION UNDER SEAL

        Plaintiffs move to seal the unredacted declaration of “Jane Roe, M.D.” in

  support of their Motion for Summary Judgment. There being no opposition and good

  cause appearing therefor, the Court GRANTS Plaintiffs’ Unopposed Motion to File

  Unredacted Declaration Under Seal. ECF No. 143. Dr. Roe’s Declaration shall be

  filed under seal.

        IT IS SO ORDERED.

        DATED:        Honolulu, Hawaiʻi, April 19, 2021.




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